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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                         CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                            v.                           ORDER

     JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                       Defendants.



          Before the Court is Plaintiffs’ Motion in Limine requesting that the Court “deem

   authentic certain photographs and videos depicting Defendant Robert ‘Azzmador’ Ray.”

   Dkt. 1149. The Court noticed this motion in limine for a hearing on October 18, 2021. No party

   has filed an opposition to the motion within the time afforded by the Court’s pretrial order. See

   Dkt. 991 at 2. At argument on October 18, the Court raised the matter again and no party

   disputed that the motion was uncontested. See Dkt. 1259 at 31 (Tr. of Oct. 18, 2021 Hr’g).

          Rule 901(a) of the Federal Rules of Evidence states that, “[t]o satisfy the requirement of

   authenticating or identifying an item of evidence, the proponent must produce evidence

   sufficient to support a finding that the item is what the proponent claims it is.” Fed. R. Evid.

   901(a). Therefore, under this Rule, “[a]uthenticity is a requirement of admissibility,” and “[t]he

   authenticity of a document simply refers to whether a document is in fact what it is purported to

   be.” United States v. Habteyes, 356 F. Supp. 3d 573, 581 (E.D. Va. 2018). The Fourth Circuit

   has explained that “[t]he burden to authenticate under Rule 901 is not high—only a prima facie

   showing is required.” United States v. Vidacak, 553 F.3d 344, 349 (4th Cir. 2009). That is

   because “[t]he factual determination of whether evidence is that which the proponent claims is

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   ultimately reserved for the jury,” and the “district court’s role is to serve as gatekeeper in

   assessing whether the proponent has offered a satisfactory foundation from which the jury could

   reasonably find that the evidence is authentic.” Id. (citations omitted).

          Upon consideration of Plaintiffs’ unopposed motion, the Court concludes that Plaintiffs

   have amply substantiated their request as proponent of the specifically identified exhibits, see

   Dkts. 2071, 2738, 2761, 2805, 2810, 2820, 2880, 3244, and portions of 1991 (7:30-8:43), that

   they have a satisfactory foundation upon which a jury could reasonably find the evidence is

   authentic, but, of course, whether this evidence is what Plaintiffs claim it is will ultimately be a

   question reserved for the jury.

          For these reasons, Plaintiffs’ motion is GRANTED. Dkt. 1149. The Court will deem

   authenticated Dkts. 2071, 2738, 2761, 2805, 2810, 2820, 2880, 3244, and portions of 1991

   (7:30-8:43), subject to rebuttal by any Defendant, for purposes of Rule 901 of the Federal Rules

   of Evidence.

          It is so ORDERED.

          The Clerk of the Court is directed to send a certified copy of this Order to the parties.

          Entered this 22nd      day of October, 2021.




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